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July 2, 2020 ‘ eo
© District Judge Nelson S. Roman The application 1s” Koyanten,
a United States District Court SO 2 Bae
Zz, Southern District of New York Cf
[x] 300 Quarropas Street Nelson S.,Rqman, U.S.D.J.

. White Plains, NY 10601 Dated: Bi G, 20
© Re: 7:20-cv-02979-NSR White Plains, New York 10601.”
=> iene Disittet duds Rowan: eam siey-y. Mounts Foods Ee Clerk of the Court requested to
cr] 8 , terminate the motion (doc. 6).
> This office represents the plaintiff. In accordance with your Honor's Individual Practices

in Civil Cases, plaintiff requests an extension of the time to prove service or file a waiver of service.

The original date by which service is required to be proved to the Court is Friday, July 10, 2020.
Fed. R. Civ. P. 4(m) (allowing 90 days for defendant to be served); Fed. R. Civ. P. 6(a)(1)(A)-(B)
(excluding the date triggering the period and counting intermediate weekends). Plaintiff requests
an extension of 30 days, until Monday, August 10, 2020, to obtain and file an executed waiver so
defendant may obtain additional time to move or answer in response to the complaint. Fed. R.
Civ. P. 4(d)(4) (“Results of Filing a Waiver”).

This action was filed on Saturday, April 11, 2020 and "a copy of the complaint, 2 copies
of the waiver form appended to this Rule 4, and a prepaid means for returning the form" was sent
to defendant's registered agent as indicated on the summons on Monday, April 20, 2020. After
over a month had elapsed without a response, I contacted defendant’s main office and spoke to a
person named Lisa who was answering phones and told her why I was calling. I asked that someone
with authority to speak on legal matters contact my office. I also requested an email address and I
re-issued a waiver of service by email. I did not receive a response.

Earlier this week, I contacted defendant’s main office again and spoke to another
individual. I requested to speak with someone with authority and left my contact information. I
was not told by this person whether to expect to be contacted by anyone in defendant’s office.

Following this call, I arranged for service of process by “delivering a copy of the summons
and of the complaint to an officer, a managing or general agent, or any other agent authorized by
appointment or by law to receive service of process” to the registered agent in the formation state.
Fed. R. Civ. P. 4(h)(1)(B) (“Serving a Corporation, Partnership, or Association.”). Though I am in
possession of an affidavit of service, plaintiff requests this extension to secure defendant’s
agreement to waive service, which will make it less necessary for defendant to hurriedly request
an extension of time from the Court and plaintiff, conserve judicial resources and accommodate
defendant and whomever it selects as its counsel. This request is submitted at least 48 hours prior
to the date sought to be extended. No prior request was made for the relief sought herein. Thank

you.
Respectfully submitted,
oo | ay i | /s/Spencer Sheehan

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